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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :   CRIMINAL ACTION
                                               :
                     v.                        :   NO. 16-400
                                               :
RAHEEM SLONE                                   :

                                           ORDER

       AND NOW, this 21st day of June 2024, upon considering Defendant’s pro se Petition

(ECF No. 123) for a writ of error coram nobis or audita querela arguing his conviction under

section 922(g)(1) is unconstitutional under the Second Amendment citing our Court of Appeals’

decision concerning a felon in possession’s eligibility to possess a firearm in Range v. Attorney

General of the United States of America, 69 F.4th 96 (3d Cir. 2023), mindful of Defendant’s

denied habeas petition under 28 U.S.C. § 2255 (ECF No. 70), Defendant’s Motion to reopen his

denied section 2255 Petition (ECF No. 117), our June 15, 2023 Order (ECF No. 120) closing the

matter in this Court but transferring his Motion to reopen his denied habeas petition to our Court

of Appeals, the Court of Appeals’s denial of his motion to file a second or successive habeas

petition (No. 23-2099, ECF No. 4), noting a writ of coram nobis is not available to Defendant

while he is still serving a custodial sentence, and Defendant may not seek relief through a

petition for a writ of audita querela because the proper vehicle is a section 2255 petition which

has been denied without our Court of Appeals’s authorization to file a second or successive

petition, it is ORDERED Defendant’s pro se Petition (ECF No. 123) for a writ of error coram

nobis or audita querela is DENIED. 1




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                                                     KEARNEY, J.
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  Raheem Slone returns petitioning for a writ of error coram nobis or audita querela under 28
U.S.C. § 1651. ECF No. 123. Mr. Slone argues we must vacate his conviction because section
922(g)(1) is unconstitutional as applied to him under our Court of Appeals’ decision in Range v.
Attorney General of the United States of America, 69 F. 4th. 96 (3d Cir. 2023). The United States
counters Mr. Slone’s Petition lacks a jurisdictional basis because: (1) the writ of error coram
nobis is not available to Mr. Slone who is currently incarcerated for the challenged conviction,
and (2) Mr. Slone may not apply for a writ of audita querela based on his inability to seek
successive habeas relief under section 2255. ECF No. 124 at 3. We agree with the United States.
We currently lack jurisdiction to consider Mr. Slone’s Motion.

Mr. Slone first petitioned for habeas relief under 28 U.S.C. § 2255 arguing he should not be
sentenced under the Armed Career Criminal Act on October 22, 2019. ECF No. 70. We denied
Mr. Slone’s 28 U.S.C. § 2255 petition. ECF No. 77. Mr. Slone moved to reopen his denied 28
U.S.C. § 2255 petition under Federal Rule of Civil Procedure 15. ECF No. 117. We liberally
construed his motion to reopen as a successive habeas petition. We transferred Mr. Slone’s
motion to our Court of Appeals for authorization to consider Mr. Slone’s motion as a second or
successive petition. ECF No. 120. Our Court of Appeals denied Mr. Slone permission to file a
successive habeas petition. No. 23-2099, ECF No. 4 (3d Cir. Aug. 9. 2023).

Mr. Slone now argues our Supreme Court’s decision in New York State Rifle & Pistol
Association, Inc. v. Bruen, 597 U.S. 1 (2022), and our Court of Appeals’s decision in Range
requires us to reconsider Mr. Slone’s conviction. Mr. Slone seeks a writ of coram nobis or audita
querela to “remedy an injustice” because no other remedy is available to him. ECF No. 123 at 6.

We cannot consider the merits of Mr. Slone’s Petition for a writ of error coram nobis. “Coram
nobis is an extraordinary remedy that ‘has traditionally been used to attack [federal] convictions
with continuing consequences when the petitioner is no longer ‘in custody’ for purposes of 28
U.S.C. § 2255.’” United States v. Rhines, 640 F.3d 69, 71 (3d Cir. 2011) (quoting United States
v. Baptiste, 223 F.3d 188, 189 (3d Cir. 2000)). “[C]oram nobis is not available when a petitioner
is in custody and may not be used to avoid [the Antiterrorism and Effective Death Penalty Act of
1996’s] gatekeeping requirements.” Obado v. New Jersey, 328 F.3d 716, 718 (3d Cir. 2003). The
writ of coram nobis is not available to Mr. Slone, who is currently incarcerated for his section
922(g)(1) conviction. He may not use the writ to avoid the Court of Appeals’s denial of his
motion for a successive petition.

We deny Mr. Slone’s Petition for a writ of audita querela. “The writ of audita querela is available
in criminal cases to the extent that it fills in gaps in the current system of post-conviction relief.”
Hernandez v. Pennsylvania, No. 19-279, 2020 WL 564902, at *2 (E.D. Pa. Feb. 5, 2020). There
is no “gap” here. Mr. Slone already moved for authorization to file a successive habeas petition
raising new arguments not presented in his earlier habeas petition. The Court of Appeals denied
Mr. Slone’s motion for authorization to file a successive section 2255 motion. Mr. Slone “may
not seek relief through a petition for a writ of audita querela on the basis of his inability to satisfy
the requirements of the Antiterrorism and Effective Death Penalty Act of 1996 (‘AEDPA’) for
filing a second or successive § 2255 motion to vacate sentence.” Massey v. United States, 581
F.3d 172, 174 (3d Cir. 2009).
